541 F.2d 280
    U. S.v.Guerrero*#
    No. 76-2315
    United States Court of Appeals, Fifth Circuit
    10/5/76
    
      1
      S.D.Tex.
    
    
      2
      AFFIRMED***
    
    
      
        *
         Summary Calendar case; Rule 18, 5 Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431 F.2d 409
        #  Local Rule 21 case; see NLRB v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966.
      
      
        ***
         Opinion contains citation(s) or special notations
      
    
    